Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 1 of 16 PageID 143
Filing # 97963837 E-Filed 10/28/2019 01:49:38 PM

IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT,
IN AND FOR BREVARD COUNTY, FLORIDA

CASE NO.: 05-2019-CA- -XXXX-XX

DIANNE LEVESQUE, as Persenal

Representative of the ESTATE OF

DONALD WHITMER, JR.,

for and on behalf of his children

BREANNA NICKOLE WHITMER,

NICHOLAS WHITMER, DONALD WHITMER, IIL,
DAKOTA WHITMER, TOMMI WHITMER,

TREY WHITMER, BRITTONY WHITMER,

Plaintiff,
vs.

CITY OF WEST MELBOURNE, a
political subdivision of the State of
Florida; JACOB MATHIS; KEVIN
KRUKOWSKI; DANIELLE QUINN,
Individually,

Defendants.

COMPLAINT

COMES NOW, DIANNE LEVESQUE as Personal Representative of the ESTATE OF
DONALD WHITMER, JR., for and on behalf of his children BREANNA NICKOLE
WHITMER, NICHOLAS WHITMER, DONALD WHITMER, UL, DAKOTA WHITMER,
TOMMI WHITMER, PREY WHITMER, BRITTONY WHITMER, (hereinafter "Plaintiffs"),
and hereby files this Complaint against KEVIN KRUKOWSKI (hereinafter “KRUKOWSKI");
JACOB MATHIS (hereinafter "MATHIS"); DANIELLE QUINN (hereinafter “QUINN”); for
acts that occurred during the course and scope of their employment with Defendant, the CITY

OF WEST MELBOURNE, and allege as follows:

EXHIBIT

iA

Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 2 of 16 PagelD 144

L PARTIES AND JURISDICTION

1. DIANNE LEVESQUE, as Personal Representative of THE ESTATE OF DONALD
E. WHITMER, JR., deceased, for and on behalf of the survivors of THE ESTATE OF DONALD E.
WHITMER, JR., at all times material to this action was a resident of Brevard County, Florida.

2, At all times hereinafter mentioned, the Defendant, CITY OF WEST MELBOURNE,
is a political subdivision of the State of Florida.

3. Defendants Danielle Quinn, Jacob Mathis, and Kevin Krukowski, each in their
individual capacity, at the time giving rise to this incident were acting under color of state law as
officers of the WES’T MELBOURNE POLICE DEPARTMENT.

4, All actions giving rise to this lawsuit occurred in Brevard County, Florida, and the
amount in controversy exceeds Fifteen Thousand Dollars ($15,000.00), exclusive of costs, interest,
and attorney’s fees.

5, This is a civil action arising out of the death of the Plaintiff's decedent, DONALD
E. WHITMER, JR., @ THE DECEDENT”), and asserting causes of action against different
Defendants for wrongful death and violations of THE DECEDENT’S civil rights.

6. Plaintiff in this action seck relief and allege that the Defendants were acting under
the color of state law when they deprived THE DECEDENT’s rights secured under the United
States Constitution, specifically the Fourth and Fourteenth Amendments. This action is brought
pursuant to the provisions of 42 U.S.C. §1983 and 42 U.S.C. 81988.

7. Jurisdiction is proper in the Court because this is an action that seeks monetary
damages against Defendants in their official, as well as in their individual capacities, in excess of

fifteen thousand dollars ($15,000.00), exclusive of attorney’s feces, interest, and costs.
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 3 of 16 PagelD 145

8. This action is brought by DIANNE LEVESQUE as Personal Representative of the
ESTATE OF DONALD WHITPMER, JR. for and on behalf of his children BREANNA NICKOLE
WHITMER, NICHOLAS WHITMER, DONALD WHITMER, HL, DAKOTA WHITMER,
TOMMI WHITMER, TREY WHITMER., BRITTONY WHITMER, (hereinafter "Plaintiffs"), and
the ESTATE OF DONALD E. WHITMER. JR., deceased, all damages specified in the Wrongful
Death Act.

9, At all times material hereto, the Plaintiff, DIANNE LEVESQUE, is the Personal
Representative of the ESTATE OF DONALD E. WHITMER, JR.. deceased. A copy of the Letters
of Administration appointing DIANNE LEVESQUE as Personal Representative of the ESTATE
OF DONALD FE. WHITMER, JR., deceased, have been previously filed and are aitached as Exhibit
AN,

10. At all times material hereto, the statutory survivors of THE DECEDENT, deceased,
pursuant to Section §768.18, Florida Statutes (2019) are Donald Whitmer, H1, Tommi Whitmer,
Trey Whitmer, Nicholas Whitmer, Britlony Whitmer, Breanna Whitmer as surviving adult children;
and Dakota Whitmer as surviving minor son. Pursuant to Florida Statutes, the potential
beneficiaries of the ESTATE OF DONALD E. WHITMER, JR., deceased are Donald Whitmer, 11],
Tommi Whitmer, Trey Whitmer, Nicholas Whitmer, Brittony Whitmer, Breanna Whitmer as
surviving aduli children; and Dakota Whitmer as surviving minor son.

li. This Court has concurrent subject matter jurisdiction over claims brought pursuant to
42 USC. § 1983.

12. Defendant, THE CITY OF WEST MELBOURNE. at all times material to this
action, was and is a governmental entity charged with the responsibility of administering and

overseeing the City of West Melbourne Police Department located in Brevard County, Florida.

LaF
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 4 of 16 PagelD 146

13. Defendant, JACOB MATHIS, is a citizen of the State of Florida residing in
Brevard County, is over the age 18 years, is sai juris, and at all times material to this action is
being sued individually, but was acting under color of law by virtue of his employment with
the West Melbourne Police Department, and at all times acted pursuant to regulations and
policies of the West Melbourne Police Department.

i4. Defendant, KEVIN KRUKOWSKL is a citizen of the State of Florida residing in
Brevard County, is over the age 18 years, is sui juris, and at all times material to this action is
being sued individually, but was acting under color of law by virtue of his employment with
the West Melbourne Police Department, and at all times acted pursuant to regulations and
policies of the West Melbourne Police Department.

15. Defendant, DANIELLE QUINN, is a citizen of the State of Florida residing in
Brevard County, is over the age 18 years, is sui juris, and at all times material to this action is
being sued individually, but was acting under color of law by virtue of his employment with
the West Melbourne Police Department, and at all times acted pursuant to regulations and
policies of the West Melbourne Police Department.

HL FACTS

16. THE DECEDENT, DONALD E. WHITMER, JR., was born December 3, 1972 and
is the natural father of Donald Whitmer, I, Tommi Whitmer, Trey Whitmer, Nicholas Whitmer,
Brittony Whitmer, Breanna Whitmer as surviving adult children; and Dakota Whitmer as surviving
minor son.

17, On May 21, 2018, THE DECEDENT, his daughter, Breanna Nickole Whitmer, and

her infant child, were shoppmg at the Publix Supermarket located at 2261 West New Haven

4
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 5 of 16 PageID 147

Avenue, West Melbourne, FL. 32904. After THE DECEDUENT made a purchase, the Publix store
manager, Steve Derrick (“DERRICK”) called 911.

18, Officers Danielle Quinn (QUINN”) and Kevin Krukowski (@KRUKOWSKI”)
respanded to the Publix Supermarket and made contact with THE DECEDENT outside the store’s
main entrance. The encounter was captured on KRUKOWSKI’S body worn camera (BWC).

19. During the encounter, THE DECHDENT tells the officers that he has heart
problems. QUINN confirms that she heard THE DECEDENT by repeating the statement back to
him.

20. QUINN conducted a full search of THE DECEDENT and confirmed that he did not
have any weapons or drugs. THIS DEUCE DENT was exhibiting signs that he may be having a
medical or mental condition that necded treatinent. Officers QUINN and KRUKOWSKI failed to
seek treatment for THE DECEDENT.

21. QUINN confirmed with DERRICK ihat he did not want THE DECEDENT
trespassed from the property. It was determined that THE DECEDENT had not committed any
crime and both officers left the scene.

22. At approximately 11:41 am., DERRICK called 911, but when asked, did not state
that he wanted THE DECEDENT trespassed. No contact was made between the officers and
DERRICK between the 911 call and the incident that ensucd.

23. KRUKOWSE] returned to the store with Jacob Mathis (MATHIS”) and located a
confused and frightened DECEDENT. MATHIS was wearing his own BWC and the entire
encounter was captured on video. KRUKOWSKI did not tell MATHIS that THE DECEDENT had
heart problems. MATHIS, willfully and with reckless indifference to the rights of THE

DECEDENT, can be seen quickly becoming frustrated with THE DECEDENT and immediately
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 6 of 16 PageID 148

begins to tase and otherwise use excessive force upon THE DECEDENT who did not resist arrest
and was not committing a crime.

24. THE DECEDENT was not a threat to the officers or the other customers in the store
as evidenced by the video and the fact that THE DECEDENT' did not possess any weapons, as
concluded by the officers, during the search of his person. THE DECEDENT was not resisting
arrest and neither officer told THE DECEDENT that he was under arrest or that he was being
trespassed.

20. MATHIS willfully and recklessly engaged THE DECEDENT by using an improper
chokehold maneuver and by putting his arm across THE DECEDENT’S neck. THE DECEDENT
was then bearhugged by MATHIS and both of them fell to the floor with THE DECEDENT landing
on his stomach and MATHIS landing atop his back.

26. KRUKOWSKI was recklessly indifferent to the rights of THE DECEDENT and
willfully failed to intervene on behalf of THE DECEDENT and to provide emergency medical
treatment for THE DECEDENT’S obvious signs of need for medical intervention, and instead,
mace the decision to use his taser device to subdue THE DECEDENT at the same time that he is
being choked by MATHIS. KRUKOWSKI can be seen using the taser on THE DECEDENT as
many as eight (8) times despite being aware of his medical episode and THE DECEDENT’S known
heart problem.

27. Sharon Contri CONTRI’) was a witness to the incident and caught the altercation
on her cell phone video camera. She can be heard telling the officers that “he is out” and to stop
choking him.

28. THE DECEDENT can be seen falling unconscious and going limp in the CONTRI

cell phone video, and ultimately expiring.
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 7 of 16 PagelD 149

29. MATHIS can be heard repeatedly yelling at him to “stop resisting” despite the fact
that THE DECEDENT had stopped struggling and was no longer conscious. THE DECEDENT
lays on the floor silent and lifeless while MATHIS remains on his back, continuously choking him,
and yelling at him to “stop resisting.”

30, KRUKOWSEI continues to tase THE DECEDENT several more times.

31. Nearly a full minute after THE DECEDENT falls unconscious, the officers finally
realize that THE DECEDENT is unconscious and not breathing, however, Defendants
KRUKOWSKI and MATHIS, take the time to handcuff THE DECEDENT’S clearly lifeless body
before turning him over to perform cardiopulmonary resuscitation CPR”). THE DECEDENT’S
daughter and grandson were witnessed the entire event giving rise to the DECEDENT’S death.

32. MATHIS attempted to commence CPR while KRUKOWSKI ran to his patrol
vehicle to get his AED device. Videos show MATHS improperly administering CPR to the
lifeless body of THE DECEDENT.

33. THE DECEDENT’s complexion was blue (cytogenic) indicating a lack of oxygen to
his tissue. THE DECEDENT never regained consciousness. THE DECEDENT was transported to

Holmes Regional Medical Center where he was officially pronounced dead.

COUNT 1 ~ VIOLATION OF FOURTH AMENDMENT OF THE UNITED STATES
CONSTITUTION - EXCESSIVE FORCE ~ 42 USC 8 1983
(KEVIN KRUKOWSE)D .

34. The Plaintiff repeats paragraphs 1-29 and incorporates them herein by reference.

35. This cause of action is brought by the Plaintiff on behalf! of THE DECEDENT,
avainst Defendant KRUKOWSKI for the excessive use of force under color of law that deprived
THE DECEDENT, of his right under the Fourth Amendment to the United States Constitution.

7
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 8 of 16 PagelID 150

36. Without legal cause or justification, Defendant KRUKOWSKI used excessive
physical force against THE DECEDENT, and repeatedly tased THE DECEDENT and/or failed
to stop others from tasing THE DECEDENT in a manner that was excessive, unnecessary, and
unreasonable in violation of the Fourth Amendment to the United States Constitution. This
Defendant, acting in concert with the other individually named Defendants, utilized excessive,
unnecessary, and unreasonable force in violation of the Fourth Amendment to the United States
Constitution causing THE DECEDENT to expire.

37. As a direct and proximate result of Defendant KRUKOWSKI’s actions, the
Plaintiff and THE DECEDENT, suffered damages, including but not limited to damages allowed
under 42 USC 1983, and pursuant to Florida Statues, Section 768.20 and 768.21, the Personal
Representative of the Estate seeks damages sustained by the Estate which are sought to be

recovered as outlined.

a. Mental pain and suffering; and

b, Loss of companionship.

c Medical and funeral expenses; and
d. ‘Loss of net accumulations.

e. All other damages allowed by law.

38. WHEREFORE, the Plaintiff, respectfully requests this Court to award (a)
reasonable and appropriate compensatory damages, (b) punitive damages against Defendant,
KRUKOWSK]I, (c) Plaintiffs cosis, expenses and reasonable attorney’s fees pursuant to 42

U.S.C. § 1988 and (d) such other and further relief as this Court deems necessary and proper.
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 9 of 16 PageID 151

COUNT 0 — VIOLATION OF FOURTH AMENDMENT OF THE UNITED STATES
CONSTITUTION - EXCESSIVE FORCE ~ 42 USC § 1983
(WACOB MATHIS)

39, The Plaintiff repeats paragraphs 1-29 and incorporates them herein by reference.
40. This cause of action is brought by the Plaintiff against Defendant MATHIS for

the excessive use of force under color of law that deprived THE DECEDENT of his nght under
the Fourth Amendment to the United States Constitution.

Al. Without legal cause or justification, Defendant MATHIS used physical force
against THE DECEDENT that was excessive, unnecessary, and unreasonable in violation of the
Fourth Amendment to the United States Constitution. This Defendant. acting in concert with the
other individually named Defendants, utilized excessive, unnecessary, and unreasonable force in
violation of the Fourth Amendment to the United States Constitution causing THE DECEDENT
to expire.

42. As a direet and proximate result of Defendant MATHIS’s actions, the Plaintiff
and THE DECEDENT suffered damages, including but not limited to damages allowed under 42
USC § 1983, and Pursuant to Florida Statues, Section 768.20 and 768.21, the Personal
Representative of the Estate secks damages sustamed by the estate which are sought to be

recovered as outlined.

a. Mental pain and suffering; and

b. Loss of companionship.

c Medical and funeral expenses; and
d. Loss of net accumulations.

e, AU other darnages allowed by law.

9
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 10 of 16 PageID 152

WHEREFORE. the Plaintiff respectfully requests this Court to award (a) reasonable and
appropriate compensatory damages, (b) punitive damages against Defendant, MATHIS, (c)
Plaintiff’s costs, expenses and reasonable attorney’s fees pursuant to 42 U.S.C. § 1988 and (d)
such other and further relief as this Court deems necessary and proper.

COUNT UI -— VIOLATION OF FOURTH AMENDMENT OF THE UNITED STATES

CONSTITUTION - EXCESSIVE FORCE ~— 42 USC § 1983
(DANDELLE QUINN)

43. The Plaintiff repeats paragraphs 1-29 and incorporates them herein by reference.

44. This cause of action is brought by The Plaintiff against Defendant QUINN for the
excessive use of force under color of law that deprived THE DECEDENT of his right under the
Fourth Amendment to the United States Constitution.

45. Without legal cause or justification, Defendant QUINN used physical force
against THE DECEDENT that was excessive, unnecessary, and unreasonable in violation of the
Fourth Amendment to the United States Constitution. This Defendant, acting in concert with the
other individually named Defendants, utilized excessive, unnecessary, and unreasonable force in
violation of the Fourth Amendment to the United States Constitution causing the Decedent to
expire.

46. Asa direct and proximate result of Defendant QUINN’s actions, the Plaintiff and
THE DECEDENT suffered damages including, but not limited to, those allowed under 42 USC
§ 1983, and Pursuant to Florida Statues, Section 768.20 and 768.21, the Personal Representative of

the Estate seeks damages sustained by the estate which are sought to be recovered as outlined.

a. Mental pain and suffering; and
b. Loss of companionship.
c Medical and funeral expenses; and

10
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 11 of 16 PagelID 153

a. Loss of net accumulations.
e. All other damages allowed by law.

WHEREFORE, the Plaintiff respectfully requests this Court to award (a) reasonable and
appropriate compensatory damages, (b) punitive damages against Delendant, QUINN, (c)
Plaintiff's costs, expenses and reasonable attorney's fees pursuant to 42 U.S.C. § 1988 and (d)
such other and further relicfas this Court deems necessary and proper.

COUNT IV: 42 USC § 1983 FARBLURE TO PROPERLY TRAIN STAFF
(THE CUPY OF WEST MELBOURNE)

47. ‘The Plaintiff repeats paragraphs 1-29 and mcorporates them herein by reference.

Ag. This cause of action is brought by the Plaintiff!) against THE CITY OF WEST
MELBOURNE, which is a municipal body. Municipal bodies are liable for constitutional
violations under 42 U.S.C. § 1983 when execution of its official policy or custom deprives an
individual of its rights protected under the Constitution. Such municipal liability exists where a
city fails to properly train, supervise, and discipline iis employees amounting in a deliberate
indifference to one’s constitutional rights. See City of Canton, Ohio v. Harris, 489 US. 378
(1989); Patzner v. Burkett, 779 F.2d 1363, 1367 (8th Civ. 1985), Wellington v. Daniels, 717 ¥ 2d
932, 936 (4th Cir. 1983).

49, At all times relevant, Defendant, CITY OF WEST MELBOURNE, had a duty to
properly train, supervise, and discipline their employees and agents.

50. Defendants breached that duty, in part, by: a. Improperly training. authorizing,
encouraging or directing officers on proper use of force. b. Failing to investigate allegations of
excessive force. c. Failing to discipline olficers for violations of policy related to excessive force.

Si. The policy, pattern of practice, or custom of condoned misconduct is tacitly or

overtly sanctioned, as evidenced by the conduct of the Defendants named herein and the

ll
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 12 of 16 PagelID 154

Defendant entities’ failure to train, supervise, investigate, and discipline any of the officers
involved in this incident amounting in a deliberate indifference to Plainaff's constitutional rights.

52, This unconstitutional behavior of officers is carried out pursuant to a policy,
pattern of practice, or custom, whether formal or informal, which violates the constitutional
rights of persons situated such as the Plainulf.

53. Defendants failed to take sufficient remedial actions to end this policy, pattern of
practice, or custom within the CITY OF WEST MELBOURNE.

54. The condoning of misconduct, and the failure to end this policy, pattern of
practice, or custom was a proximate cause to the injuries suffered by Plaintiff.

55, Wherefore, as a direct and proximate cause of the actions of the Defendants, the
Plaintiff and THE DECEDENT, suffered damages, including but not limited to damages allowed
under 42 USC § 1983, and Pursuant to Florida Statues, Section 768.20 and 768.21, the Personal
Representative of the Estate seeks damages sustained by the estate which are sought to be

recovered as outlined.

a. Mental pain and suffering; and

b. Loss of companionship.

c Medical and funeral expenses: and
d. Loss of net accumulations.

€. All other damages allowed by law.

WHEREFORE, the Plaintiff respectfully requests this Court to award (a) reasonable and
appropriate compensatory damages, (b) punitive damages against Defendant, the CITY OF
WEST MELBOURNE, (c) Plaintiffs costs, expenses and reasonable attorney’s fees pursuant to

Ad U.S.C. § 1988 and (d) such other and further relief as this Court decms necessary and proper.

12

Case 6:19-cv-02187-PGB-DCl

Document 13-1 Filed 11/19/19 Page 13 of 16 PagelD 155

Respectfully submitted,

/S/ John Vernon Moore /s/
JOHN VERNON MOORE, ESQUIRE
Florida Bar No. 105403

The Law Office of John Vernon Moore, PA.
3270 Suntree Boulevard, Suite 103-B

Melbourne, Florida 32940

Tel. G21) 529-7777

Fax (321) 821-0466

John@JMooreLcgal.com
CourtDoes@JMooreLegal.com

Michael Bross(@BrossLawOffice.com
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 14 of 16 PagelID 156

Ellis, Clerk of Courts, Brevard County

Filing # 80845274 E-Filed 11/15/2018 12:06:07 PM

IN THE CIRCUIT COURT OF THE
HIGHTERENTH JUDICIAL CIRCUIT
IN AND FOR BREVARD COUNTY,
FLORIDA

IN RE: ESTATE OF

DONALD BE. WHITMER, JR. File No. 05-2018-CP-
039495-KRKAK-RK

Division PROBATE
Deceased.

LETTERS GF ADMINISTRATION
(single personal representative)
TO ALL WHOM IT MAY CONCERN

WHEREAS, DONALD E. WHITMER, JR., a resident of BREVARD County, Florida,
died on May 21, 2018, owning asscis in the State of Florida, and

WHEREAS, DIANNE LEVESOUE has been appointed personal representative of the
estate of the decedent and has performed all acts prerequisite to issuance of Letters of
Administration in the estate,

NOW, THEREFORE, |, the undersigned circuit judge, declare DIANNE LEVESQUE
duly qualified under the laws of the State of Florida to act as personal representative of the estate
of DONALD E. WHITMER, JR., deceased, with full power to administer the estate according to
law; to ask, demand, sue for, recover and receive the property of ihe decedent; to pay the debts of
the decedent as far as the assets of the estate will permil and the law directs; and to make

distribution of the estate according to law.

DONE AND ORDERED in Brevard County, Florida on this [5th day of November,

O5201SCPO39495X XX XX 11/15/2018

Filing 60845274 DONALD E WHITMER 05-2018-CP-039495-XXXX-XX
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 15 of 16 PagelD 157

TONYA BACCUS RAINWATER
CIRCUIT JUDGE

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that the foregoing was filed with the Clerk of the Court this [5th
day of November, 2018 by using the Florida Courts E-Filing Portal, Accordingly, a copy of the
foregoing is being served on this day to all attorney(s)/interesied partics identificd on the Portal
Electronic Service List, via transmission of the Notice of Electronic Filing generated by the

Portal.
Name fmall Address
Pierre A.L. Momumers nlerretcmommerscolombea.com

sburkc@imommierscalombo.com
sheriiG@inonimerscalombo.com

Filing 80845274 DONALD E WHITMER O5-2018-CP-039495-XXXK-XK
Case 6:19-cv-02187-PGB-DCI Document 13-1 Filed 11/19/19 Page 16 of 16 PagelD 158
